           Case 1:18-cr-03475-WJ Document 36 Filed 10/22/19 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

        Plaintiff,

vs.
                                                                        CR18-3475 WJ

ROBERT DUNSWORTH,

        Defendant.

      ORDER FOR PRE-CONVICTION PRESENTENCE INVESTIGATION REPORT

        THIS MATTER is before the Court on Defendant’s Unopposed Motion to Produce Pre-

Conviction Presentence Investigation Report (Doc. 35).   The Court having reviewed the motion,

finds the motion to be well taken and is granted.

        IT IS ORDERED that Defendant’s Unopposed Motion to Produce Pre-conviction

Presentence Investigation Report (Doc. 35) is granted.   The United States Probation Office is

directed to prepare a Pre-Conviction Presentence Investigation Report in this matter and upon

completion of the report, disclose copies to the United States Attorney’s Office and Defense

Counsel.




                                                    WILLIAM P. JOHNSON
                                                    UNITED STATES DISTRICT JUDGE
